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Case 1

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Ali Rights Reserved , : , LITHO. (N U.S.A.

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Case 1

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LITHO. IN U.S.A,
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- Harrison: County Sheriff s Department - .
The University. of Southern Mississippi-Gulf Coast ».

OLEORESIN CAPSACIN “O.C. SPRAY”
Yao the BC day of Uovenbor. 2008

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Case 1

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Harrison County Sheriff’s Department
The University of Southern Mississippi-Gulf Coast |

BASIC CORREC

Annie Kelly

Thte ts ts certify that

has completed

(80 HOURS) /

uktan pHlen, Ph.D., Wagon, HESO
Derceter, SRESI
Case 1:05-cv-00326-LG-JMR Document 77-7 Filed 08/14/08 Page 5 of 33

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Nan ‘ Alle ATTENDED A TRAINING CLASS

TITLED ae Ct Search
ON | (0 20 03 AND RECEIVED LL

TRAINING CREDIT HOUR (S) / MINUTE (S).

CERTIFIED SIGNATURE:

NAME OF eee INDIVIDUAL: Chie Rak C. h en

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Shift Training
on S$ Cet 23 I Anne lat fo received a 15 minute

Print Name
block of training on Employees & the Inmate Culture, during the

2OUS-O72dD __ shit briefing.

il

f
ers Sighature & Badge Number

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Captam Kell\scwre t/a

IW una) Defesrve Taepr ras 1] pn o3,

LY fife BOAb Basie CopreCitarcea/ Office Tearing ~/]/-~2/~-03.

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HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING DIVISION

fake ae
w Adept 02 1 DEPUTY. Anofe Ahh. ¢ 18)

COMPLETED THE FIRST AID AND CPR COURSE. I HAVE ALSO RECKIVED AND COMPLETED

THE PRACTICAL AND WRITTEN TESTs.

TEST SCORE (Phss>Y FAL

PRACTICAL (PASS) FAT

HONY
HARRISON CO STRUCTOR

BOTH TESTS ATTACHED:

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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 07/29/03, | Ann ) é L, /f, bps RECEIVED A 15 MINUTE BLOCK

PRINT NAME
OF TRAINING ON Emergency Key Boxes in Cehtrol Rooms, DURING THE 1445-2300 HR

SHIFT BRIEFING.
DEPUTY SIGNATURE AND BADGE NUMBER

Case 1:05-cv-00326-LG-JMR Document 77-7 Filed 08/14/08 Page 10 of 33

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 07/24/03, I f nnye be [ [ hy RECEIVED a 15-MINUTE BLOCK
PRINZAAME
OF TRAINING ON AREA RESTRICTED KEYS, VISITORS ARRIVAL TIME, GENERAL ORDERS
UPDATE , PAYROLL AND OVERTIME CHANGES , DURING THE 2245-0700 HR SHIFT

BRIEFING.

: PB

( Os AND BADGE NUMBER

SGT. KENNETH ROGERS #161
SHIFT SUPERVISORS/INSTRUCTOR

SGT. DEDRI CALDWELL #314
SHIFT SUPERVISOR/INSTRUCTOR

SGT. JOHN GEAS #322
SHIFT SUPER VISOR/AINSTRUCTOR

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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 06-25-03, 1. fane Lb /; f. 4 RECEIVED A 15 MINUTE BLOCK

PRINT NA
OF TRAINING ON Memos Key Registry ae nit 1.D. Tags, DURING THE 2245-0700 HR

(oe SIGNATURE AND BADGE NUMBER

—_*

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HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDANCE RECORD

“

ae
\G\
AAD ee Kelly ATTENDED A TRAINING CLASS

Le
TITLED pp \

on (0 A 200. AND RECEIVED <SSINTS

TRAINING CREDIT HOUR (S).

x
CERTIFIED SIGNATURE: ot Li fe. Zee

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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

13!
ON 03/22/03, J A nave ae Marg RECEIVED A 15 MINUTE BLOCK

PRINT NAME/BADGE NUMBER
OF TRAINING ON HUNGER STRIKE DURING THE 2245- 0700hours SHIFT BRIEFING.

», BI

TYSI TURE AND BADGE NUMBER

SGT. WILLIAM M. DRECHSEL #284
SHIFT SUPER VISOR/INSTRUCTOR

SGT. DEDR] CALDWELL #314
SHIFT SUPERVISOR/INSTRUCTOR

SGT. JOHN GEAS #322
SHIFT SUPER VISOR/INSTRUCTOR

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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 03/08/03, 1 Annee Kells. x/ RECEIVED A 15 MINUTE BLOCK

PRINT NAME/BADGE WUMBER
OF TRAINING ON EMERGENCY HURRI E PROCEDURE DURING THE 2245- 0700hours

SHIFT BRIEFING.

] Oe Y
{oe SIGNATURE AND BADGE NUMBER

SGT. WILLIAM M. DRECHSEL #284
SHIFT SUPERVISOR/INSTRUCTOR

SGT. DEDRI CALDWELL #314
SHIFT SUPERVISOR/INSTRUCTOR

’ SGT. JOHN GBAS #322
SHIFT SUPERVISOR/INSTRUCTOR

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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 03/05/03, I Ann ic kel lu 18) RECEIVED A 15 MINUTE BLOCK

PRINT NAME/BA®GE NUMBER
OF TRAINING ON EMERGENCY KEYS DURING THE 2245— 0700hours SHIFT BRIEFING.

( yee ‘AND BADGE NUMBER

SGT. WILLIAM M. DRECHSEL #284
SHIFT SUPERVISOR/INSTRUCTOR

SGT. DEDRI CALDWELL #314
SHIFT SUPERVISOR/INSTRUCTOR

’ SGT. JOHN GEAS #322
SHIFT SUPERVISOR/INSTRUCTOR

Case 1:05-cv-00326-LG-JMR Document 77-7 Filed 08/14/08 Page 16 of 33

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 03/01/03, I Ann i€ Ke| [ bh. RECEIVED A 15 MINUTE BLOCK
E XU,

PRINT NAME/BADG BER
OF TRAINING ON CRIME SCENE PROCED S DURING THE 2245— 0700hours SHIFT
BRIEFING. .

Mo!
(DEPUDy SIGNAfUBE AND BADGE NUMBER

SGT. WILLIAM M. DRECHSEL #284
SHIFT SUPER VISOR/INSTRUCTOR

SGT. DEDRI CALDWELL #314
SHIFT SUPERVISOR/INSTRUCTOR

SGT. JOHN GEAS #322
SHIFT SUPERVISOR/AINSTRUCTOR

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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 02/18/03, I An MWe Ye ily | } | RECEIVED A 15 MINUTE BLOCK

PRINT NAME/BADGU NUMBER :
OF TRAINING ON USE OF RESTRAINTS DURING 2245- 0700hours SHIFT BRIEFING.

18)

TY SIGN RE AND BADGE NUMBER

SGT. WILLIAM M. DRECHSEL #284
SHIFT SUPERVISORAINSTRUCTOR

SGT. DEDRI CALDWELL #314
SHIFT SUPERVISOR/INSTRUCTOR

SGT. JOHN GEAS #322
SHIFT SUPERVISOR/INSTRUCTOR

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Harrison County Sheriff’s Departmen
Correctional Division

Thiy ty to certify that

Annie P. Kelly
Hay successfully completed,
CORRECTIONAL OFFICER TRAINING COURSE

(40 Hour)

Thig the 6% day of February, 2003

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GIV LSYd-dOV Id DNDTMOM

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Case 1

Cy,

Harrison County Sheriff’s Department
Correctional Division

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HARRISON COUNTY
ADULT DETENTION CENTER

This is to acknowledge that I have received a copy of the Harrison County Adult
Detention Center Policy and Procedure Directives. I understand that if] should resign or
be terminated I will be responsible for returning the completed copy in with my issued
equipment. I further understand that within 48 hours of this date I will have a working
knowledge of the contents and will adhere to the polices and guidelines expressed within.

f-4-0F

Date

[i

Badge No.

Issuing By Badge No.
Case 1:05-cv-00326-LG-JMR Document 77-7

naME: Kelly, Annie. BADGE#:_[ & |

re Bywe2 feehuiae seany

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Jerdan {90

CONTROL ROOM

‘CENTRAL CONTROL.

FZAR-OR

_F-1-03

_Vordan 190

‘BOOKING CONTROL

FLOOR OFFICER

4-)Z-OZ

Jordan 190

LROVER

G-S-O=__

_Vordan IQO |

[ MEDICAL ROVER.

TeS-0 3

Jordan 120.

Jordan 190 |

FRONT DESK

VISITATION ROVER _

_lo-2lo-O3

"7:5-O3

Jordan IGO |.

__ | PERIMETER OFFICER |

—

B-b-O8

; lobauwe / 18)

80 HOUR COURSE

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FTO MODULE PERFORMANCE CHECKLIST

Chapter Trainee nario _ICe] hy l¢]
Modular Title: CONTROL ROOM FIO forald Sel 19O
Performance Objective: Following demonstration by the >
designated Field Tramer, the trainee will safely and x ZB
securely monitor inmates and the block/sections. Answer {| S © 3 S
requests by telephone, intercoms, and radio. Control and § i z 26

. . > oO a S moO
verify counts, control and document access in and out of | 2 2 |e 2 uy l2e
the block/sections, and conduct and monitor visits/church | 2 2 al 's 2 Ss » 3 é &

L eee . . cS a8 o eA
services. Properly notate all activities relating to medical. | 8 # 2 § Zs 8 Es 2

. SFo;hORoG [eG fe ]/esS

1) ENTER CONTROL ROOM AND NOTIFY CENTRAL-
RECEIVE BRIEFING FROM ON DUTY OFFICER. wy
2) REVIEW ALL PAPERWORK, GREEN BOOK, POST ORDERS, | &) s A] A Yl
AND CONFIRM COUNTS ON POPULATION SHEETS. 8 / QO 0 XO cy
3)EXIT CONTROL ROOM AND NOTIFY CENTRAL-MEET Ool~=) et] = lal” ,
WITH OFFICERS TO CONDUCT SAFE/ACCURATE COUNTS. 7 i i j ) ,
4) CONDUCT COUNTS SAFELY, ACCURATELY, QUICRLY,IN | &{TE | MH] Ald Hy
ACCORDANCE WITH A.C.A. STANDARDS.
5)UPON COMPLETION OF COUNTS, SIGN TO VERIFY ON
POPULATION SHEETS AND RE-ENTER CONTROL ROOM.
6)NOTIFY CENTRAL OF ENTRY TO CONTROL ROOM AND
THAT COUNTS ARE VERIFIED/CLEARED-ASSUME DUTY.
7) MONITOR ALL SECTIONS AND MAKE AN ENTRY ON wD) PO; ™ ~_ |
YOUR LOG STATING WHAT WAS OBSERVED(EVERY 30 — 1 SS Seles
MINUTES). THIS CAN BE TIME APPROXIMATE, ™~ SiS
8) ANSWER RADIO AND TELEPHONE-ALSO ANSWER 5

INTERCOM AND INMATE REQUESTS AS NEEDED.

9) MAINTAIN ALL MOVEMENT IN YOUR BLOCK-IN/OUT OF
YOUR BLOCK USING PROPER FORMS/DO CELL CHANGES.
MONITOR ALL STAFF TO ENSURE THEIR SAFETY IN BLOCK.
10) DOCUMENT ALL RECREATION RELATED ACTIVITIES-
ALL MEALS IN/SERVED/OUT-WHAT WAS SERVED-# TRAYS.

11) ACCURATELY MAINTAIN POPULATION SHEETS-IF ON
MIDNIGHT SHIFT CONDUCT ACCURATE RE-WRITE. THIS
SHOULD BE ACCOMPLISHED WITHIN TWO(02) HOURS.
12} PROPERLY BRIEF ONCOMING OFFICER AND ENSURE
ALL PAPERWORK/BOOKS/FORMS WERE UTILIZED
PROPERLY. DO NOT LEAVE UNTIL PROPERLY RELIEVED.

I certify. thatproficiency was demonstrated by the above

trainee concerning this task on_3~|3~@> (date)
me}

[Ly @
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Flo fS5./

FTO ISSO

FTO. bs.s. §O
RTo AST. Ge ( Fy

Case 1:05-cv-00326-LG-JMR Document 77-7 Filed 08/14/08 Page 24 of 33

HARRISON COUNTY SHERIFF’S DEPARTMENT .
Corrections Division
Daily Observation Report
Trainee Annie kel ly 4 isl FTO fon ald aielon 90

Date Z~-)d-B _ . Page | of [

_ Narrative: Give a brief description 6 of training conducted today and outcome.

PTO: Daren _aoes over al II tasks fr Candrel

Toon will tipninee kelly. FTO Dorden observes
trainee belly perdoren her objective She. sately

Cina gecucthy Mow ! dor inMmectes rel odtic ets. Ansoses

reguests by tel lephone. inlercons, and_focic. Constral -
aoe Udr > L, cunts, Control ancl { deeument CECE 8.5 rn

‘ and out of the bloele [sect Qs fro pecly nodate
oll activities tA hee bleck. Trainee belly has

Come fee in her training She 1S dois Very

well

ZL LAR ZLHMO

FTO’s Signature LZ

Case 1:05-cv-00326-LG-JMR Document 77-7 Filed 08/14/08 Page 25 of 33

HARRISON COUNTY SHERIFF’S DEPARTMENT ,
Corrections Division

Daiiy Observation Report

Trainee Année IceLhy LEAL FTO Koraled S. Codon [7O

Date 2-382 | Page | of |

ing conduc ected today and outcome.

_ Narrative: Give a brief description of train

E:T: corlan asks trainee ke hy SL she has
any 9ves tons on hos te con C.-Contyo|
foom._Iramee kelly asks whet cs atheat
C tants! TeTO: salar aclutses trainee Kevlh
tot she worl! fave £2 keep Up tt Drmates
lockers Comins ia _anol set of the block. ETo.
bilan also 4OeS GUeCr hows to _olo a BUR.
to tromee kelly. E70. Oordan observes
Trainee be/ he Phrous ht She L123, bf enh

frral s Vracace keh ahs VEZ ue ZZ.

ALLEL.

FTO’s Signature

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HARRISON COUNTY SHERIFF’S DEPARTMENT
C corrections Division

Daily Observation Report

Trainee Aynnare kelly 1S/ rto Lyald Debn 90
Date Q-AO-Q> Page ( of f

. .

_ Narrative: Give a brief description of training conducted today and outcome.

Lc ZO. Oortlan observes frac nee kelly Ah xsirs hyo
the hight. EZO. Zarlen ashe teainee Letfe vf She

Aas. GY. BweSHALS about-tontrel reonr cluties.. Tanee:
telly asked. about the cart paper with tamodes panes» what it
was for. rT O- Derdan ex thrincel LA was foe inmates Qos
td eaort for the nerf dav. Li FO. Jorden feels Aminge
‘Kelly 1S dains very well in the Covdrol room Trainee:

kelly hes prekad Ley) ber speed and Aas braush +

all Contrel foo clotims together: and és g<thias, <c1,3, ht- yO

by 230),

igna f) FTO’s Signature

Hse b : Lael. Lp" 2

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HARRISON COUNTY SHERIFF’S DEPARTMENT
Corrections Division

Daily Observation Report

Trainee Annie ke | ly # Is; / rv0faabl Seen 1

Date a-1y Page / of

_ Narrative: Give a brief description of training conducted today and outcome.

Eto Jorden Stops in_on tronee keelhy Ww Q-conto!
anc cheeks an her. Tenee kelly has no pasleletts
and és funnias dhe cow Lyeol LOOHA ell FLO. Fereleu
ddégs not have to Give Ons advise at thes time. Trainee
belly wes asked ~£ she had “ity guestion about any
CoAtial rom dutes . (ainee tell Sauel she uas o€ vcd
tan ron the contol we/Z. f. FO Jorden feels Hrarinee
cel ly is handlias th candnl cluhtes wel bf newts fe

pick 4p he pale: alitth.

LZ)
jift Ll hia /®

NX

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HARRISON COUNTY SHERIFF’S DEPARTMENT
Corrections Division

Daily Observation Report

awe

. a.
Trainee Annie Kelly 1§] FTO Ronald Dordkun 190
Date A-JA-~d3 Page | of |

_ Narrative: Give a brief description of training conducted today and outcome.

ETO Derdan leds brerin ce tale control of Comba! ron. fi TO
Sodan elands becit ancl observes trainee kelhy Curing he cata!
rom anc asks tratnce kelly M she needs helo ath aryl heen <p ST
ost. Trainee cel ly pertacmns her cluties wel] bot sf: alike

& hoo on) naner worl Trainte kel hz betes ip woth evervbock UY COOUAS,
TT Sp o 2 . 7 7

iA gach out-of her hhee k Trainee kelly also obsérves her Lloor

ORC Car everytime Lhey endo~ o section. Traine: cel ly needs

alittle more work on moniloes finctions . Traince Icel ly askih
Very eH le_guestiovs on what to do. FTL6. biden tals tminve
telly hes _pichecl yf on all dodees 1a the contol room oF
needs to beias all dutres together as_ong ancl get alte Sasters

FTO’s Signature

YL 7O

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HARRISON COUNTY SHERIFF’S DEPARTMENT
Corrections Division

Daily Observation Keport

Trainee Ynnice Kel kz FTO orale Soran 190

Date 2~] -o3 Page _/ of /

_ Narrative: Give a brief description of training conducted today and outcome.

Ro. cordon adarls trainee kelhy On Covrdrest LOOK pooper work.

[io. Soran goes COuecKr control {Corn ba, amet: movement sheet

Oe CO. hook y+ bewwer (nspeczhis ry cheer anol popeshects. Train¢e belly

picks ip On ths control loc, well but rs alittle a low right. AOU =

Zo. Drelen Feels Htarnee ke lhe ail set Lester witha Amo -

trainee kelhy eet. Lp ON" the pOcxppetsor ke well, Tine

belly ake ansaecl gvestiens fr ianodes Somewhat ok. /- ZO.
Sbclan 005 over the proper _woy ta set wa paperwork. Tine

telly LS p ches wa ail dotres Ses

FTO?s Signature
A. LL.
APL

Case 1:05-cv-00326-LG-JMR Document 77-7 Filed 08/14/08 Page 30 of 33

HARRISON COUNTY SHERIFF’S DEPARTMENT
Corrections Division

Daily Observation Report

Trainee Anne Kelly ie FTO Ronald Doran 110
Date Q-lO-@3 Page of |

. Narrative: Give a brief description of traini
ETO. Jorelan 0% over all conto! room cluties with Trainee

kelly, ATO. Jardan falke about anol shows Trainee Kelly Ao fo

use the Montters to pop open dams, walle around and observe

ach Seckion, how to do the Contral room log anal Movemen F les
Goes ova dhs popsheet anck lets trainee Kee [hy cle half the popshedd:

E fo. ‘Jorlan alse Gous over ths arecn Pass on book 7 hows to
CNS ber. Lhe _phens, anroh vshat ble padre hooks we Uscel Lor, qr
how te do tho picdore heats. Frasnee kelly LS Ler observant

anned fucts Vo Lasks Lest. f, ZO Jordan: Gee Over nedecatinn

pass dudes and lets trainge asses tT the purse wilh tneel.., GSS
Be O-Blak mole sie. FTO. Derdan tel trinee kelly
iso fost Jeamer encl will clo her job Ver sf welf obler shes Serinvels

<<

Painee's ignature FTO’s Signature

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FTO MODULE PERFORMANCE CHECKLIST

Chapter Trainee Annie kel h y__tét
Modular Title: Booking Control FTO Lmald darlen [90

Performance Objective: following demonstration by the

> oo
designated Field Trainer; the trainee will: Conduct safety ~ 28
. . - vA OD
and security operations, control access in and out of é © 8S.
booking area, registering on the proper logs persons who | & fe z & 8
- . > a
enter and exit. Professionally answer the telephones and 2 2 fio 2 o | 2%
. * . . ° - . ~~ & = =| ©
provide information. The primary function of this postis | 2 29 Sy |S2 2/38 C
. a ‘Ss s] 2 i
to be in control of access and departure of all persons. egelcsl se 18s |E 1 S28
oO 5 x @ @ 3 o B vo o 2
Oo a oc o @ ,o
& B/Ho g 3 co a cue
&EBlosd 3s =a ¢ a 56
Feira fs | FS |S 1 se
SFol/hae Ss feo le lef
t)Enter the booking contro! room and secure the door. Receive a
briefing from the on-duty deputy regarding daily events. Ol al oa tr ~\ mn)
- : - fA? \
2)Sign post orders and assume the duties of booking control- 0 y D 1 0 Q
controlling all exiting and entering of the booking areas. do |. 4 | j ~L
3)Document all agencies, and all inmates coming in and ont of the } — — wy oS {
facility. Example: Court, hospital, funeral, etc. 6 “ih db } j
4)Monitor the security cameras and report any unusual incidents to & ch vy
the on-duty supervisor,
—
5)Monitor the two security gates and allow access and exit to those QQ — | -— Ia
who are authorized. Always check for identification on vehicle. So} OO So eo —_—,
6)Dem onstrate the proper technique for opening both gates at the nN
same time during an emergency(firetruck, ambulance, etc.)
7)Control access and exit to the holding tanks in booking as directed \ SN

by the booking staff-control on/off of telephones.

8)Restrict access to anyone with a firearm on, exchiding law
enforcement using the elevator for upstairs access.

9)Notify S-1 when any inmate(s) departs/returns through booking
control by either ambulance or transport for the hospital.

L,

10)Answer the telephone for limited information to those calling for
bonds, releases and general inquiries.

11)Brief the oncoming staff on all information in regards to booking
and booking control.

0. B84 190 4

7

12)Upon departure from booking control, ensure that the relieving
officer is fully briefed, and that the door is secure.

Fi
Pino: BE
FTO Ly I

I certify that proficiency was demonstrated by the above
trainee ce ing this task on 3~ }1-@3 (date)

FIO Knld FRdan [90
Tr. (ceil { b

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HARRISON COUNTY SHERIFF’S DEPARTMENT
Corrections Division

Daily Observation Report

Trainee Annie cell # 1&) FTO Keralcl 5 Auelen H#qO0

Date 3- {/l- D3 . Page [ of /

_ Narrative: Give a brief description of training conducted today and outcome.

ti LQ: eordan observes droiner kelly In Booking conteal:
Teuinee ketly _exphiias end lemon sdreces al} tasks anek

objectives for booking, conte! Trainte kelhy explains the imporbree

of obserwiins, dhe mons ters ahd oGtes Trainee elle alse explaias
hous fo use. the posh butbn monitor to open hald ine, cells and
gates: Filo. Dorelan feels trainee ke hy hos learnech

has do Operate beokias, conte! safely and guickly.

EZo- Jordan @loses. treunce kelly out on hook jas control

AAbh LZ GO

FTO’s Signgtyxé

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HARRISON COUNTY SHERIFF’S DEPARTMENT
Corrections Division

Daily Observation Report

Trainee_ Annie: cel ly il FTo_kanll clan 40

Date A~l§-O3 Page _ / of |

_ Narrative: Give a brief description of training conducted teday and outcome.

Eto: Jorclan explains and demon states beokin & Cantal
duties te treaince Lilly. BLO. Dorcdean ey flasns Actus to

Pen clones for hooking, how fo keep add, on all monitocs,
he to Open the hack gates One ata tne: and how to

clo booking, cottral paperusok. Fi T.O. VJotdan also explains

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